            STATE OF WISCONSIN
            DEPARTMENT OF JUSTICE
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                                     October 8, 2019



     U.S. Magistrate Judge Pamela Pepper
     United States Federal Building and Courthouse
     517 East Wisconsin Ave. Rm. 208
     Milwaukee, WI 53202


            Re:    John Doe v. Board of Regents, et al.
                   Eastern District Case No. 19C1348

     Dear Judge Pepper:

           Defendants object to Plaintiff’s request for a hearing. (Dkt. 25.) The reasons
     for Defendants’ objection are set forth in detail in Defendant’s Brief in Support of
     Motion to Dismiss. (Dkt. 27.)

                                             Sincerely,

                                             s/Gesina S. Carson
                                             GESINA SEILER CARSON
                                             Assistant Attorney General

     GSC:kje




               Case 2:19-cv-01348-PP Filed 10/08/19 Page 1 of 1 Document 28
